               IN THE UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MICHIGAN


 In Re:                                                               Bky. No.: 17-47680-mar

 Francetta Boyd                                                                     Chapter 13


 Francetta Boyd,
                                                     Adversary Proceeding No.: 19-04310-mar
                Plaintiff,

 v.

 I.C. System, Inc., and
 Samer G. Shamoon, D.D.S., P.C.,

                Defendants.

                  REPLY MEMORANDUM OF LAW IN SUPPORT OF

                         MOTION FOR SUMMARY JUDGMENT

          Plaintiff’s opposition attempts to create fact issues by raising new

 arguments based on inadmissible evidence and mischaracterizing the timeline of

 events. To provide clarity, the undisputed facts are as follows:

 Date                        Event
 July 2007-                  Plaintiff receives dental services from Dr. Shamoon. The
 August 2013                 account ledger shows an unpaid balance throughout this
                             time. (Doc. 76-3 at 1-2)
 September 2014              Plaintiff’s unpaid balance for account #1 ($275) is placed
                             with IC for collections. (Doc. 73 at p. 27)
 September 2014-             Plaintiff makes no payments toward the $275 balance for
 May 2017                    account #1. (Doc. 73 at p. 27)
 May 19, 2017                Plaintiff files her petition for bankruptcy.
                             Plaintiff identifies IC and the $275 balance for account #1
                             on the creditor’s matrix (Doc. 73 at p. 65)
 May 22, 2017                IC receives notice of bankruptcy and closes account #1 and



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                          collection activity is ceased. (Doc. 73 at p. 28) No
                          payments were made on the account #1 balance. (Id. at p.
                          27)
 July 8, 2017             Plaintiff receives dental services totaling $144.00. Plaintiff
                          makes a $60.00 payment to Dr. Shamoon on the same day.
                          (Doc. 76-3 at 3)
 December 28, 2017        Plaintiff’s account #2 is sent to IC for collections. (Doc. 73
                          at 30.) Due to a clerical error, Plaintiff’s account #2 was
                          reduced to $77.61. (Doc. 73 at p. 26, ¶4; see also id. at p.
                          31)
 December 29, 2017        IC sends Plaintiff first letter regarding account #2. (Doc. 73
                          at p. 33)
 January 2018 –           IC attempts to contact Plaintiff by telephone regarding
 July 2018                account #2. (Doc. 73 at pp. 36-41)
 March 5, 2018            IC sends Plaintiff second letter regarding account #2. (Doc.
                          73 at p. 33)
 July 20, 2018            Plaintiff pays IC the $77.61 balance in full for account #2.
                          (Doc. 73 at p. 30, 33)
 July 24, 2018            IC sends Plaintiff a letter with a receipt confirming her
                          payment on account #2. (Doc. 73 at p. 33)
 September 15, 2018       Plaintiff receives additional dental services from Dr.
                          Shamoon totaling $100, which she pays for on the same
                          day. (Doc. 76-3 at 3)
 July 2019                Plaintiff initiates the instant adversary proceeding.

       Plaintiff’s claims (as pled and testified to) are as follows:

              Plaintiff alleges that IC violated the automatic stay when it

                 attempted to collect the $77.61 balance, including sending two

                 letters in December 2017 and March 2018, and attempting to contact

                 her by telephone between December 2017 and July 2018. (Doc. 22 at

                 ¶¶19-21.)

              Plaintiff alleges Dr. Shamoon violated the automatic stay when he

                 allegedly “refused to provide dental services until the outstanding

                 pre-petition dental bill was paid in full” and that it was only after she


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               “made a payment of $77.61 to Defendant I.C. System” in July 2018

               that “Plaintiff was able to receive dental work from Defendant Dr.

               Shamoon.” (Id. at ¶¶18, 22, 24, 25.)

            Consistent with the above, Plaintiff testified that the basis for her

               claims is premised on Defendants’ attempts to collect the $77.61

               debt. (Doc. 76-5, 12:21-14:7, 21:8-22:25, 26:10-28:14.)

        Based on the undisputed facts, Plaintiff’s claims and testimony all involve a

 post-petition debt which Defendants properly attempted to collect. Apparently

 recognizing that the undisputed record dooms her claims, Plaintiff now attempts to

 raise new (unpled) arguments that are contrary to the allegations in the operative

 Complaint and her own deposition testimony.

        Plaintiff’s efforts are unavailing. Summary judgment is warranted.

                                   ARGUMENT

 I.     PLAINTIFF HAS NOT ESTABLISHED AN INJURY IN FACT.

        Plaintiff’s claims are premised on the allegation that Defendants committed

 a procedural violation of the automatic bankruptcy stay when they attempted to

 collect the $77.61 debt. Plaintiff described the harm she suffered as a result of

 Defendants’ conduct as “aggravation.” (Doc. 76-5 at p. 38.) Plaintiff’s vague

 allegation does not trigger Article III standing. See Buchholz v. Meyer Njus

 Tanick, PA, 946 F.3d 855, 864 (6th Cir. 2020) (finding that Plaintiff’s bare

 allegation of anxiety, regarding the potential consequences of his failure to pay his




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 debt, was insufficient to establish standing without additional corroborating

 evidence).

        At the end of Plaintiff’s deposition, Plaintiff’s counsel guided Plaintiff

 through a series of leading questions in order to rehabilitate her testimony. (Doc.

 76-5 at 37-49.) During redirect, Plaintiff testified that she was harmed because

 she experienced pain (i.e., a toothache) when Dr. Shamoon “refused” to provide

 her dental services. Assuming (for the purposes of standing) that such leading

 testimony was admissible (which it isn’t), such refusal does not constitute a

 concrete injury-in-fact so as to confer standing.

        Plaintiff testified that she wasn’t required to pay the balance before

 receiving dental services from Dr. Shamoon (76-5 at 28-30) and she further

 testified that she could have gotten dental services elsewhere, in any event (id. at

 p. 31, 51-52). In any event, Dr. Shamoon is free to deny dental services to patients

 who fail to pay.

        In short, Plaintiff fails to establish that she suffered a concrete injury, or

 any other harm, as the result of Defendants’ proper attempts to collect the $77.61

 post-petition debt. Plaintiff therefore lacks Article III standing and her claims

 should be dismissed.

 II.    SUMMARY JUDGMENT SHOULD BE GRANTED ON THE
        MERITS BECAUSE PLAINTIFF HAS NOT ESTABLISHED A
        VIOLATION OF THE STAY.

        Plaintiff argues in opposition to summary judgment that she made a $60

 payment to Dr. Shamoon on July 8, 2018, which was applied “towards the pre-


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 petition balance.” (Doc. 76 at p. 2.) As an initial matter, this new argument has

 never been pled (nor has Plaintiff sought leave to amend) and, indeed, is contrary

 to the claims in the operative Complaint. (See Doc. 22.) Because this claim was

 never properly pled, Plaintiff’s concocted argument should be disregarded as

 procedurally improper and futile. See La. Sch. Emps.’ Ret. Sys. v. Ernst & Young,

 LLP, 622 F.3d 471, 486 (6th Cir. 2010) (“[A] request for leave to amend almost as

 an aside, to the district court in a memorandum in opposition to the defendant's

 motion to dismiss is . . . not a motion to amend.”); Brown v. Owens Corning Inv.

 Review Comm., 622 F.3d 564, 569 (6th Cir. 2010) (motion to amend denied if

 amended claims would be futile); Butler v. Sturgess, No. 05-74353, 2005 WL

 8178505, at *2 (E.D. Mich. Nov. 23, 2005) (disregarding arguments regarding

 claims not made asserted in complaint); Bell v. FirstEnergy Generation Corp., No.

 1:09 CV 1880, 2011 WL 3851215, at *4 (N.D. Ohio Aug. 30, 2011) (disregarding

 argument based on claim not pled in the complaint in the party’s brief in

 opposition as “too little too late”).

         But even if it was properly pled, Plaintiff’s new argument is a distinction

 without a difference. It is undisputed that Plaintiff sought (and received) dental

 services on July 8, 2018 in the amount of $144. (Doc. 72 at p.2-3, 76-3.) It is also

 undisputed that these services were provided over a year after the bankruptcy

 petition was filed.




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        And this new argument is directly contrary to Plaintiff’s own testimony in

 which she testified that she was asked by Dr. Shamoon to make the payment as a

 co-pay for the services being provided on that day:

        It was a service I think before I had to actually go in and get that
        tooth pulled and I had to pay that – the $60. I had insurance, so the
        $60 I believe that was the co-pay of that.

 (Doc. 76-5 at 41:25-42:11.)     Simply put, the $60 payment she made to Dr.

 Shamoon on July 8, 2018 was made towards a post-petition debt and Plaintiff’s

 attempt to contradict herself to create a sham issue of fact should be rejected.

 Aerel, S.R.L. v. PCC Airfoils, L.L.C., 448 F.3d 899, 908 (6th Cir. 2006) (courts

 should strike a party’s arguments or facts that are directly contrary to their prior

 testimony in order to create a “sham fact issue”).

        Plaintiff also strains to create a fact issue by attempting to interpret Dr.

 Shamoon’s internal account ledger. (Doc. 76 at p. 2.) Specifically, Plaintiff

 argues that because the account ledger shows a balance, Dr. Shamoon must have

 attempted to collect a pre-petition debt at some point. (Id.) But Plaintiff fails to

 submit any admissible evidence in support of her argument.

        Plaintiff has not produced any letters or communications indicating that

 attempts were made to collect a pre-petition debt. Plaintiff never alleges she

 “received” any statement from Dr. Shamoon; much less one seeking to collect a

 pre-petition debt. (Doc. 76-5 at 21:8-22:25.) In fact, her testimony regarding the

 statements she received and why she initiated this lawsuit is premised entirely on




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 Defendants’ attempts to collect the $77.61 post-petition balance.         (Doc. 76-5,

 12:21-14:7, 21:8-22:25, 26:10-28:14.)1

       In short, Plaintiff’s ill-advised argument barely rises to metaphysical doubt

 which is insufficient to defeat summary judgment. Cox v. Kentucky Dept. of

 Transportation, 53 F.3d 146, 149–50 (6th Cir.1995).

       Moreover, Plaintiff’s interpretation should be disregarded because it is

 inadmissible. Plaintiff lacks any personal knowledge or foundation to interpret

 Dr. Shamoon’s business records. Fed. R. Evid. 602 (personal knowledge), 702

 (expert testimony).   Plaintiff’s inadmissible arguments regarding Dr. Shamoon’s

 account ledger are insufficient at summary judgment and should be disregarded.

 Fed. R. Civ. P. 56(c)(1)(B) (evidence at summary judgment must be admissible).

       In sum, Plaintiff’s has not established a genuine issue of material fact that

 either Defendant violated the bankruptcy stay.          Defendants are entitled to

 summary judgment.

                                 CONCLUSION

       Defendants I.C. System, Inc. and Samer G. Shamoon, D.D.S., P.C.

 respectfully request that Plaintiff’s claims be dismissed for lack of standing or,

 alternatively, that summary judgment be entered against Plaintiff and in

 Defendants’ favor.

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  The testimony relied upon to support Plaintiff’s central argument is based solely
 on a line of leading questions by her attorney which, in the end, only provides
 Plaintiff’s interpretation of Dr. Shamoon’s account ledger. (Doc. 76-5 at 39:14-
 45:8.) Plaintiff’s inadmissible interpretation of Dr. Shamoon’s business records
 and accounting is insufficient to defeat summary judgment. (See supra)

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                            BASSFORD REMELE, P.A.



 Dated: July 17, 2020           /s/ Jessica L. Klander
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 In Re:                                                              Bky. No.: 17-47680-mar

 Francetta Boyd                                                                     Chapter 7


 Francetta Boyd,
                                                     Adversary Proceeding No.: 19-04310-mar
               Plaintiff,

 v.

 I.C. System, Inc., and
 Samer G. Shamoon, D.D.S., P.C.,

               Defendants.

                   DECLARATION OF PROOF OF SERVICE


        I, Jessica L. Klander, an attorney licensed to practice law in this Court, with
 an office address of 100 South Fifth Street, Minneapolis, MN 55402 declare that
 on July 17, 2020, I caused the following documents:

 Reply Memorandum of Law in Support of Motion for Summary Judgment;

 to be filed electronically with the Clerk of the Bankruptcy Court through ECF, and
 that ECF will send an electronic notice of the electronic filing to all parties
 requesting such notice.      And I declare, under penalty of perjury, that the
 foregoing is true and correct.

                                          Respectfully submitted,

 Dated: July 17, 2020               By: /s/Jessica L. Klander
                                    Jessica L. Klander (MN #392290)




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